     Case 5:14-cr-00014-DCB-FKB            Document 45        Filed 03/25/15      Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                 WESTERN DIVISION


UNITED STATES OF AMERICA

v.                                                         CRIMINAL NO. 5:14-cr-14-DCB-LRA

BRENDA DILLON NORMAN
AND YVONNE LYNETTE GARY


                                  ORDER OF CONTINUANCE

       This cause having come before the Court on the motion of defendant Brenda Dillon

Norman to continue this matter (docket entry 43) and defendant Yvonne Lynette Gary’s

Joinder for Continuance ( docket entry 44), and the Government advising that it has no

objection to said motions, and the Court having considered said motions, finds that for all counts

and for all defendants said motion is well taken and for the following reasons is hereby granted,

and that the period of delay shall be excluded in computing the time within which the trial of this

matter commence in accordance with the Speedy Trial Act, 18 U.S.C. §3161.

       Also having duly considered the factors articulated in Title 18, Section 3161(h)(7)(B)(ii)

to determine the appropriateness of a continuance, the Court finds that counsel for defendant

Brenda Dillon Norman entered his appearance in this case on March 5, 2015 , and needs time to

review all discovery which is extensive and review and discuss same with defendant, and

additional time to prepare a defense as necessary in preparation for trial, and the Government

and Defense need time to explore issues related to a resolution of this action. Pursuant to Title

18, Section 3161(h)(7)(A) of the United States Code, the ends of justice outweigh the best

interests of the public and the defendants in a speedy trial in this cause and are best served by

granting the requested continuance.
    Case 5:14-cr-00014-DCB-FKB             Document 45        Filed 03/25/15     Page 2 of 2




         The Court finds that any speedy trial objections heretofore arising or which may arise as

a result of this requested continuance under the Speedy Trial Act or the Constitution in the case

at bar have been waived and finds that the motion should be granted for the reasons described

above.

         IT IS THEREFORE ORDERED that this matter be continued until the Court’s next trial

term which begins June 1, 2015 , and that the period of delay shall be excluded in computing the

time within which the trial of this matter commence in accordance with the Speedy Trial Act, 18

U.S.C. §3161.



         SO ORDERED this the       25th     day of   March        , 2015.



                                                       s/David Bramlette
                                                     UNITED STATES DISTRICT JUDGE
